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Trion James v. Port Authority Police Department, Port Authority of New York and New Jersey,
Edward Cetnar (in his official capacity), Christopher McNerney (in his official capacity), and
Does 1-5
Civil No.: 1:22-cv-02463-PGG




        EXHIBIT Q
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Det. Luis Morales:   Today's date is October 25 th, 2021. Time is now 1545 hours. Detective
Luis Morales with Detective Lieutenant Victoria Lubeck, One World Trade Center interviewing
Kejuan Robinson, security officer for Durst. How are ya today, sir?

Kejuan Robinson:        I'm good. How you doin'?

Det. Luis Morales:  And so**** regards to an incident that occurred on October 21 st, 2021, at
approximately 1900 hours.

Kejuan Robinson:        Yes.    Do you recall the incident?

Kejuan Robinson:        I do.

Det. Luis Morales:      Can you please tell us what happened?

 Kejuan Robinson:       Uh, so I seen a**** authority figure, some type of sergeant for Port
Authority. He went up to the, uh, guest services desk, and I guess he had a reservations for ONE
Dine upstairs in the 102 nd floor I think it is. Uh, they said that he was late for his reservation, so
they couldn't let him up. And once I seen he was giving them too much of a hard time, that's
when I text for Tony, the Legends manager, to come down and see what was going on, 'cause
we're not allowed to approach people. We're the guards; we're not allowed to approach people.
Uh, Tony came. Tony asked them what happened. Got.in an exchange of words with Tony. Uh,
he gets, he told Tony to, like, get out of his face. He was waving his hands in Tony's face. Uh,
then a Legends manager, uh, Torian I believe his name is, he got in between them. He kind of
told him to just step away, the sergeant for Port Authority. At that point, the guard, he kept
approaching Tony. Tony exchanged words with him. He told him this is my building, uh, you
work for me, I'm a sergeant for Port Authority, you can't tell me what to do, things of that nature.
Uh, so Tony basically told him, you know, don't put your hands in my face. He kept doing it
over and over again. I tried to get in between them. Still was approaching Tony. Uh, there was
a uniformed guard with him, a uniformed officer for Port Authority. Uh, she pretty much
seemed like she didn't really know what to do. She didn't know who to get in between or what to
say, uh, so it was pretty much me. Then there was another Legends security officer. His name
was Brown. He was there with me as well. Uh, he tried to get in between them as well. Like I
said, the sergeant for Port Authority kept approaching Tony. Kept getting his hands in his face,
kept telling him to get the hell out of his face, things of that nature. He was really rowdy****.
Uh, from there, the guy was escorted out by the officer that he came in with, and then that's when
Tony radioed for the other managers for the bay side of the building to come out. Uh, and then
they called two other uniformed officers. I guess they were also Port Authority. They came
downstairs. They asked Tony what happened, made sure he was okay. That was it.

Det. Luis Morales:     Okay. You described him as, as a Port Authority figure. How did you
identify him as a Port authority figure?

Kejuan Robinson:       He said that he was a sergeant for Port Authority several times during the
altercation****.
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Det. Luis Morales:     Did he have any identifiers visible when he was there?

Kejuan Robinson:       Uh, he waved his I guess they call it a shield.

Det. Luis Morales:     M'kay.

Kejuan Robinson:       It's like a gold badge.

Det. Luis Morales:     Okay.

Kejuan Robinson:         He waved that around a couple times. Uh, even when he was at the guest
services desk, and he told 'em that they couldn't let him up, uh, he still waved that around. He
was like well can you still let me up? Can you still let me up? And it was like no. Ya know,
like our rules just state that we can't let you up after the gates ~e down. And he still was try to
wave this badge in our faces and stuff like that.

Det. Luis Morales:     How was he wearing the badge?

Kejuan Robinson:       Uh, I believe he pulled it out of his coat and then from there he kept-

Det. Luis Morales:     It was around his, like around his neck -

Kejuan Robinson:       Yeah.

Det. Luis Morales:     - like a little Ian, lanyard or something?

Kejuan Robinson:       Yeah.

Det. Luis Morales:     M'kay.

Kejuan Robinson:       Uh, that's pretty much all of it.

Det. Luis Morales:     How did you, how did you contact Tony?

Kejuan Robinson:       I text him because I didn't want him to hear the, the click on my radio.

Det. Luis Morales:     Okay.

Kejuan Robinson:      And then it got worse, so.

Det. Luis Morales:    What did you text Tony? .

Kejuan Robinson:      Uh, could you come to double doors, sir. Want me to show you, or?

Det. Luis Morales:    Yeah, you have that text.
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Kejuan Robinson:      Yeah. I was like can you come to double doors, sir. He said okay. About
maybe 2 minutes later, he showed up. He asked me what happened. I told him he was giving
them a hard time, he walked up to them and****.

Other Speaker:       Do, do you remember how was he, how was he giving them a hard time?
Was it something he was saying, or?

Kejuan Robinson:         Uh, so I remember the agent at guest services, he asked him if he had the
reservations or if he had the tickets already. The guy kept saying he was looking for it. He was
looking for it. It kinda seemed like he was stalling, though. I'm not gonna lie. Uh, he was
taking a long time. He had a small pouch with, with something. He was in his pockets. He was
looking all around. He was like I'm tryin' to find it. I can't find it. I can't find it. So the guest
services agent was like, well, if you can't find the reservations and you're telling me you had it at
this time, we can't let you up. So, yeah. From there you could tell he was just getting more
agitated and more aggravated. Even the guest services agent was like, okay, well who wants to
help this guy 'cause I can't help him.

Det. Luis Morales:     How close were you to him?

Kejuan Robinson:       Uh, I wanna say maybe, it was definitely longer than this room. Uh-

Det. Luis Morales:     Okay.

Kejuan Robinson:       - but I could still hear -

Det. Luis Morales:     Okay.

Kejuan Robinson:      - the conversation 'cause it was just us down there. The guests were
already upstairs. The, it was already closed down basically for the night so I could hear
everything that was going on.

Det. Luis Morales:     Okay.

Other Speaker:         Was, was his, was he speaking in a normal tone or was -

Kejuan Robinson:       No.

Other Speaker:         -his voice elevated?

Kejuari Robinson:      Definitely elevated, definitely aggravated to a certain extent, especially
when they told him that they couldn't let him up. That's when he really started to raise his voice
and that's when he started to flash his shield and things like that.

Other Speaker:          Now you said once, uh, once your security manager, Tony, came out that
there, there was an altercation. Was it just a verbal altercation or did it become physical at some
point?
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Kejuan Robinson:         It was verbal up until Tony told him that he had to leave. And then after
that, he tried to get pass Tony, but you could tell in the way that he tried to get passed him, he
was like literally trying to bump him, like trying to escalate the situation.

Det. Luis Morales:     Mm hmm.

Kejuan Robinson:       Shoulder to shoulder.

Det. Luis Morales:     Uh huh.

Kejuan Robinson:       Like it was a, a chest bump.

Det. Luis Morales:     Okay.

Other Speaker:         Did he, did he bump him, or?

Kejuan Robinson:       Yes. And -

Other Speaker:         So that sergeant bumped the security manager?

Kejuan Robinson:       Yeah.

Other Speaker:         Okay.

Kejuan Robinson:        And at that point, Tony was like don't bump me. Ya know, like, and then
the guard was like well, no, you just bumped me. That's assault. And then he started screaming
assault and things like that. So that's when I tried to like approach them and get in between
them. But, like I said, every attempt that we all, it was three people that made attempts to get in
between the Port Authority sergeant and Tony, and all three attempts the Port Authority sergeant
still came at Tony.

Det. Luis Morales:     So at one point, you were close to him though?

Kejuan Robinson:       Yeah.

Det. Luis Morales:     Did you, uh, smell any maybe alcohol or anything on his breath?

Kejuan Robinson:      No. Not that I know of.

Other Speaker:         Did he put his hands on, did he physically put his hands on you at all?

Kejuan Robinson:    No. Uh, the only physical altercation that I seen was just that one chest
bump with him and Tony.

Other Speaker:        Okay. Was he verbally'abusive towards you at all?
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Kejuan Robinson:        Not towards me, but definitely towards Tony. Tony was the main one that
he was going after, calling him out of his name like things like an asshole. He called Tony that
he was just like a retired security guard. Something like that he said or retired police officer.
Things like that. Things of that nature that he just said.

Det. Luis Morales:    Did he make statements about how the facility was his?

Kejuan Robinson:      Yeah. Uh, he was like so being that he works for Port Authority and he's a
Port Authority sergeant, sorry, uh, the whole building belongs to him. He's like this is my
building. When Tony axed him to leave, he was like I don't have to leave. Like this is my
building. You get the hell outta here. That's word for word what he said.

Det. Luis Morales:    Did he make any other statements like that?

Kejuan Robinson:        Uh, that was the only one that I heard. He basically just said he worked
for Port Authority, this is his building.

Det. Luis Morales:    Did you -

Other Speaker:        Were there any other- I'm sorry.

Det. Luis Morales:    Go ahead.

Other Speaker:        Were there any other guests around at that time when this was going on?

Kejuan Robinson:         Uh, guests were exiting the building. They started closing up upstairs
around 7:00 p .m. So guests were exiting. And even as guests were exiting, they had a hard time
tryin' to pass the situation because it was so explosive.

Det. Luis Morales:    Did you notice the sergeant coming in when he came into the building?

Kejuan Robinson:       Uh, yeah. Just like anybody else. Like I said, it was pretty dead down
there so I noticed him walking up to the office. And I knew what the answer they was gonna
give him. They can't let him up because -

Det. Luis Morales:    When -

Kejuan Robinson:      - the gates are down.

Det. Luis Morales:    -when he approached, was his shield already out?

Kejuan Robinson:      No.

Det. Luis Morales:    Okay.
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Kejuan Robinson:                He didn't flash his shield until they started telling him repeatedly that they
couldn't let him up.

Det. Luis Morales:     M'kay. All right. Is there anything that we haven't asked you you think
might be pertinent to this investigation?

Kejuan Robinson:   Uh, no. I will say I would have, I ·wouldn't have known that he even
worked for NYPD until he flashed the shield. He did walk in with a uniformed officer, like I
said.

Det. Luis Morales:              Mm hmm.

Kejuan Robinson:       I thought he was just lost and the officer was just helping him find out
how to get upstairs until the in, the situation ensued and he flashed his badge. That's pretty much
all I can say.

Other Speaker:                  Okay.

Det. Luis Morales:    If at any point there's anything you wanna add to your story or your
statement with us, um, feel free to talk to Tony and he'll get back in contact with us and we will,
we can al ways come back in and talk to you again.

Kejuan Robinson:                Okay.

Det. Luis Morales:              Thank you very much for your time.

Kejuan Robinson:                No problem.

Det. Luis Morales:              The time is now 1554 hours and that concludes this interview.


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